     Case 2:13-cr-00159-WKW-WC Document 249 Filed 10/06/20 Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )
       v.                                ) CASE NO. 2:13-CR-159-WKW
                                         )             [WO]
DAVID GADSDEN                            )

                                     ORDER

      Before the court are Defendant’s pro se Notice, which the court construes as

a motion for free copies (Doc. # 245), and pro se Motion to Vacate or Set Aside the

Court’s Recent Order Denying Compassionate Release (Doc. # 247). After careful

review of the record, it is ORDERED as follows:

      (1) Defendant’s pro se Motion for Free Copies (Doc. # 245) is GRANTED.

      The Clerk of the Court is DIRECTED to mail a copy of the Government’s

      Response to Show Cause Order (Doc. # 234) to Defendant’s address on file

      with the court; and

      (2) Defendant’s pro se Motion to Vacate or Set Aside (Doc. # 247) is

      DENIED.

      DONE this 6th day of October, 2020.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
